                 Case 2:08-cr-00577-KJM Document 23 Filed 05/27/09 Page 1 of 2


   GREGORY A. VEGA, ESQ. (SBN 141477)
 1 SELTZER CAPLAN MCMAHON VITEK

 2 A Law Corporation
   750 B Street, Suite 2100
 3 San Diego, California 92101-8177
   Telephone:     (619) 685-3040
 4 Facsimile:     (619) 702-6814
   Email:         vega@scmv.com
 5

 6 Attorneys for Defendant Salam Kalasho
   and Pisces International, Inc.
 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,                              )   CASE NO. CR. S-08-577 FCD
                                                          )
11                         Plaintiff,                     )   STIPULATION AND ORDER CONTINUING
                                                          )   STATUS CONFERENCE
12
            v.                                            )
13                                                        )   DATE:          June 1, 2009
   SALAM S. KALASHO,                                      )   TIME:          10:00 a.m.
14 ANIL MALHI, and                                        )   COURT:         Courtroom 2
   PISCES INTERNATIONAL, INC.,                            )
15                                                        )
16                         Defendants.                    )
                                                          )
17
            IT IS HEREBY stipulated between the United States of America, through its undersigned
18
     counsel, Assistant United States Attorney R. Steven Lapham, together with counsel for Defendant
19

20 Salam S. Kalasho and Pisces International, Inc., Gregory A. Vega, and counsel for Defendant Anil

21 Malhi, Donald M. Re, that the status conference presently set for June 1, 2009, be continued to

22 August 3, 2009 at 10:00 a.m., thus vacating the presently set status conference.

23          The parties stipulate that the ends of justice are served by the Court excluding such time, so that
24
     counsel for the Defendants may have reasonable time necessary for effective preparation, taking into
25
     account the exercise of due diligence. 18 U.S.C. § 3161 (h) (8) (B) (iv).
26

27

28                                                                                   Case No. CR. S-08-577 FCD
                                                         1
                                              Stipulation and Order
                                           Continuing Status Conference
               Case 2:08-cr-00577-KJM Document 23 Filed 05/27/09 Page 2 of 2


            Specifically, the requested continuance is based upon the May 4, 2009 request of counsel for
 1

 2 Defendant Kalasho for additional discovery that the government has in its possession which has not yet

 3 been provided to defense counsel for review and analysis. Counsel for the Government has indicated

 4 the additional discovery will be provided in the near future. In addition, counsel for Defendant

 5
     Kalasho will be unable to travel from San Diego, California to Sacramento, California due to
 6
     recuperating from a medical procedure. The parties stipulate and agree that the interests of justice
 7
     served by granting this continuance outweigh the best interests of the public and the Defendants in a
 8
     speedy trial. 18 U.S.C. § 3161 (h) (8) (A).
 9

10          IT IS SO STIPULATED.

11 Dated: May 27, 2009                                    /s/ Gregory A. Vega
                                                         Gregory A. Vega
12                                                       Attorney for Defendant Salam Kalasho
                                                         and Pisces International, Inc.
13

14
     Dated: May 27, 2009                                  /s/ Donald M. Re
15                                                       Donald M. Re
                                                         Attorney for Defendant Anil Malhi
16

17
     Dated: May 27, 2009                                  /s/ R. Steven Lapham
18                                                       R. Steven Lapham
                                                         Assistant U.S. Attorney
19

20
                                                    ORDER
21
     IT IS SO ORDERED.
22

23
     Dated: May 27, 2009
24                                                 _______________________________________
                                                   FRANK C. DAMRELL, JR.
25
                                                   UNITED STATES DISTRICT JUDGE
26

27

28                                                                                 Case No. CR. S-08-577 FCD
                                                         2
                                              Stipulation and Order
                                           Continuing Status Conference
